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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION


VERSUS                                                                  NO. 15-154


PRICE, ET AL.                                                           SECTION A(3)



                                      ORDER AND REASONS

       In an Order and Reasons entered on July 1, 2016 (Rec. Doc. 425) the Court

conditionally granted in part and denied in part the Government’s Motion in Limine

Regarding the Admissibility of Music Videos and Lyrics Against All Defendants (Rec.

Doc. 276). The motion in limine pertained to 14 rap songs (in some cases portions of

them), and accompanying videos, that the Government sought to admit against all

defendants at trial. The Court ruled that the Government would be allowed to play for

the jury song 01 (video only), song 03 (audio), song 04 (audio and video), and song 05

(audio and video) so long as the Government lays a proper foundation. As to the BMG

Pound songs, the Court ordered redactions of specific lines in Songs 04 and 05 where

the artist, presumably defendant Ashton Price, implicates co-defendants Evans Lewis

and Curtis Neville in criminal activity.

       The Government moves for reconsideration of the aspect of the Court’s ruling

that requires the redactions in Songs 04 and 05. Citing United States v. Vasquez, 766

F.3d 373 (5th Cir. 2014), the Government contends that Bruton v. United States, 391




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U.S. 123 (1968), does not require the redactions, and that the inculpatory statements

should otherwise be admissible.

       While the Government concedes that the Fifth Circuit has never conclusively held

that the Bruton prohibition only applies to testimonial statements, United States v.

Vasquez, 766 F.3d 373, 378-79 (5th Cir. 2014), the Court agrees that the decision

suggests that the Fifth Circuit will eventually join those circuits that hold that Bruton

does not apply to non-testimonial statements. But Bruton aside, the Court is persuaded

that the redactions are proper nonetheless.

       Evans Lewis a/k/a Eazy

       The Government contends that Price’s reference to Lewis in Song 05, “My

brother Eazy told me to do it for the team,” which appears immediately before a

reference to Cheddar Black, falls within two well-recognized exceptions to the hearsay

rule — Rule 801(d)(2)(E) statements made by a co-conspirator in furtherance of a

conspiracy, and Rule 804(b)(3) statements against penal interest. 1

       The Government’s reliance on Rule 801(d)(2)(E) is misplaced. As Lewis points

out in his opposition, Lewis is one of the defendants who had been arrested and

continuously incarcerated since 2011, long before the BMG Pound/Dusty Money

Entertainment songs were released. 2 For this reason, the Court ruled that Song 05




       1
          The Government alleges that Cheddar Black was killed by a rival gang, and in
retaliation for his death members of the enterprise allegedly killed Quelton Broussard.
(Superseding Indictment Overt Act 19).
       2
           Song 05 was not uploaded to the internet until April 20, 2013.

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would not be admissible against Lewis. (Rec. Doc. 425 at 20). The clear implication of

this ruling is that Song 05 is not admissible against Lewis as a Rule 801(d)(2)(E)

coconspirator statement.

       Given that the Government continues to question whether Lewis’s lengthy and

continuous incarceration prior to the release of Song 05 provides a basis to conclude

that he was no longer part of the conspiracy in 2013, the Court also observes that even

if Song 05 in its entirety is a statement made in furtherance of the conspiracy — i.e.,

made to intimidate the relevant community and to affirm the supremacy of the enterprise

— the potentially inculpatory statement and highly prejudicial statement against Lewis is

not. The statement does not advance the ultimate object of the conspiracy and arguably

references past conduct. See United States v. Cornett, 195 F.3d 776, 783-84 (5th Cir.

1999). The Court is not suggesting that line-by-line parsing to determine admissibility is

appropriate or necessary when a song or other narrative is admissible as a

coconspirator statement when taken as a whole, but the redacted lines are not

necessary to the purpose for which the Government wants to admit the song. And given

that Song 05 may be just that — a song — the probative value of Pound’s inculpatory

statement against Lewis does not outweigh its highly and potentially unfair risk of

prejudice.

       The Court likewise finds the Government’s argument based on the Rule

804(b)(3) statement against interest exception to be unpersuasive. Song 05 is not

necessarily a self-inculpatory statement by Price against his own interest given the

nature of gangsta rap, and even if it was, it remains unclear whether the non-self-


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inculpatory statement against Lewis contained within qualifies for the exception. See

United States v. Ebron, 683 F.3d 105, 133 (5th Cir. 2012 (discussing Williamson v.

United States, 512 U.S. 594 (1994)). But even if this legal question were construed in

favor of the Government, the Court remains convinced that the probative value of

Pound’s inculpatory statement against Lewis does not outweigh its prejudice.

         Curtis Neville

         The Court denies reconsideration as to Neville based on the Rule 804(b)(3)

statement against interest exception for the same reasons that it was denied as to

Lewis.

         As to the Government’s reliance on Rule 801(d)(2)(E), statements made by a co-

conspirator in furtherance of a conspiracy, the Court agrees with Neville’s contention

that the redacted statements, which single out Neville as a drug dealer and shooter, are

not statements that further the conspiracy. 3

         In sum, even if Bruton is not applied to the redacted inculpatory statements, the

redactions are not admissible under either of the hearsay exceptions identified by the

Government. And hearsay problems aside, the statements are not necessary to the




         3
          Song 04: “My nigga Poonie baggin’ O’s until the scale break”; Song 05: “see Lil Poonie,
that’s my shooter, he be on that sight.”
        The Court continues to reject the Government’s contention regarding Neville’s adoption
of Pound’s inculpatory statements given that the videos in this case were heavily edited in the
production process. That Judge Feldman found an adoptive admission in a rap video in the
Hankton matter is not particularly persuasive as to any video in this case given that every video
will be different. The Court does not question that an adoptive admission can occur in a music
video, but it does not follow that the facts and circumstances in this specific case support that
inference.


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purposes that the Government has identified for admitting the rap songs at issue in this

case. The minimal probative value of the redactions will not outweigh the unfair

prejudice to Lewis and Neville that will result from admitting the statements. 4

       August 3, 2016




                                                     __________________________________
                                                               JUDGE JAY C. ZAINEY
                                                         UNITED STATES DISTRICT JUDGE




       4
         The Government’s attempt to analogize the Pound rap songs productions to a Title III
interception where one defendant implicates himself and other defendants fails to persuade the
Court. Musical productions like those at issue in this case are not the same as a recording of an
unscripted conversation made surreptitiously and contemporaneously with events as they
unfold.

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